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                                         ekim@littler.com
                              6
                                  Attorneys for Defendant
                              7   CAESARS ENTERTAINMENT CORPORATION
                              8
                                                               UNITED STATES DISTRICT COURT
                              9
                                                                     DISTRICT OF NEVADA
                        10

                        11
                                  JOHN CAVE,                                         Case No. 2:21-cv-00660-JCM-DJA
                        12
                                                 Plaintiff,
                        13                                                           STIPULATION AND [PROPOSED]
                                  v.                                                 ORDER TO EXTEND TIME TO FILE
                        14                                                           RESPONSIVE PLEADING
                                  CAESARS ENTERTAINMENT
                        15        CORPORATION, a foreign corporation and             (FIFTH REQUEST)
                                  DOES 2 through 10, inclusive, in their
                        16        individual and official capacities,
                        17                       Defendants.
                        18

                        19               Pursuant to LR IA 6-1 and LR 7-1, Plaintiff JOHN CAVE (“Plaintiff”) and Defendant

                        20        CEASARS ENTERTAINMENT CORPORATION (“Defendant”) by and through their

                        21        undersigned counsel, hereby agree and stipulate to extend the time for Defendant to file a

                        22        responsive pleading from the current deadline of October 18, 2021, up to and including November

                        23        15, 2021. The parties have reached a settlement and are currently finalizing the agreement.

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                                  Case 2:21-cv-00660-JCM-DJA Document 15 Filed 10/19/21 Page 2 of 2



                              1            This is the fifth request for an extension of time to respond to the Complaint. This request
                              2   is made in good faith and not for the purpose of delay.
                              3 Dated: October 18, 2021                            Dated: October 18, 2021
                              4 Respectfully submitted,                            Respectfully submitted,
                              5

                              6   /s/ Robert S. Melcic                               /s/ Emil S. Kim
                                  ROBERT S. MELCIC, ESQ.                             PATRICK H. HICKS, ESQ.
                              7                                                      EMIL S. KIM, ESQ.
                              8   Attorney for Plaintiff                             Attorneys for Defendant
                                  JOHN CAVE                                          CAESARS ENTERTAINMENT
                              9                                                      CORPORATION
                        10
                                                                                 ORDER
                        11

                        12                                                              IT IS SO ORDERED.

                        13                                                              Dated: _____________________,
                                                                                                      October 19      2021.
                        14

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                                                                                        ____________________________________
                        16
                                                                                        UNITED STATES MAGISTRATE JUDGE
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                                  4825-9037-6447.1 / 083558-1248
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